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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TENNESSE

------------------------------------------------------------------------x
 Benjamin Johnson, individually and on behalf of all others
 similarly situated,
                            Plaintiff,


                                                                              Case No.: 2:21-cv-2301


          -against-

 Midland Credit Management, Inc.,
 and John Does 1-25.
                            Defendant(s).
------------------------------------------------------------------------x

                                       NOTICE OF SETTLEMENT

        Notice is hereby given that the Parties have settled this matter. The parties anticipate

completing settlement documents and filing a dismissal with the Court within the next sixty (60)

days. The parties request that the Court retain jurisdiction of these parties during said sixty (60)

day period.



DATED, this 16th day of June, 2021                            Respectfully Submitted,


                                                              /s/ Yaakov Saks
                                                              Yaakov Saks
                                                              Stein Saks, PLLC
                                                              285 Passaic Street
                                                              Hackensack, NJ 07601
                                                              Phone: 201-282-6500
                                                              ysaks@steinsakslegal.com
                                                              Attorney for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
on June 16, 2021 with the Clerk of Court using CM/ECF. I also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified on the Service List
below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.



                                                            /s/ Yaakov Saks
                                                            Yaakov Saks




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